Case 1:16-cv-24035-RNS Document 85 Entered on FLSD Docket 08/30/2017 Page 1 of 1



                            United States District Court
                                      for the
                            Southern District of Florida

Ralph Higgens, Plaintiff,              )
                                       )
v.                                     )
                                           Civil Action No. 16-24035-Civ-Scola
                                       )
Trident Asset Management, LLC,         )
Defendant.
                                    Judgment
       The Court has entered judgment on partial findings under Rule 52(c).
(Judgment on Partial Findings, ECF No. 84.) The Court now enters judgment in
favor of the Defendant and against the Plaintiff, as required by Federal Rule of
Civil Procedure 58. The Court directs the Clerk to close this case.
      Done and ordered, at Miami, Florida, on August 30, 2017.


                                            ________________________________
                                            Robert N. Scola, Jr.
                                            United States District Judge
